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FOR THE EASTERN DISTRICT OF LOUISIANA, fm `i"`
§ "'i?;:[`
GENE P. BONVILLAIN, in his capacity as
ASSESSOR for the PARISH OF TERREBONNE,

STATE OF LOUISIANA,
Civ.N0.09 57@8

PALACE OPERATING COMPANY, an entity JURY TRIA ` ECT C MAG 2
organized under the laws of a state other DEMANDED ‘ ' ‘
than Louisiana, and ROBERT M. ZINKE,

Plaintiff,

V.

Defendants.

 

COMPLAINT

 

NOW COMES the Plaintiff, GENE P. BONVILLAIN, in his capacity as Assessor
for the Parish of Terrebonne, State of Louisiana, through counsel, and for this, his complaint

for damages and other relief, Would state and show as follows:

PARTIES AND JURISDICTI`ON`
l. Plaintiff Gene B. Bonvillain ("Bonvillain") is the Assessor of the Parish of
Terrebonne, a subordinate local governmental entity of the State of Louisiana,
2. Defendant Palace Operating Company ("Palace") is an entity organized and
having its principal place of business in a state other than Louisiana at Suite 170(), 6100

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South Yale Avenue, Tulsa, Oklahoma 74136 .

   

 

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3. Defendant Robert M. Zinke ("Zinke") is an individual believed to be a resident
of Oklahoma. Zinke is an employee of Palace responsible for the preparation and submission
of tax documents, as hereinafter alleged

4. This is an action for the recovery of delinquent and unpaid taxes in an amount
that far exceeds the jurisdictional minimum amount in controversy that confers jurisdiction
on this Court.

5. Jurisdiction is conferred on this Court by virtue of 28 U.S.C. §§ 1331 and 1332
and 18 U.S.C. § 1964(0). A substantial part of the events or omissions giving rise to the
claim occurred in this district, and a substantial part of property that is the subject of the

action is situated in this district.

GENERAL FACTUAL ALLEGATIONS

6. Terrebonne Parish is one of the coastal parishes of Louisiana, located on the
Gulf of Mexico ("the Gulf'). BeloW the surface of the Gulf and Within the coastal lowlands
immediately adjacent to the Gulf are located some of the maj or producing oil and gas fields
in the United States. These oil and gas fields in some cases extend into the Gulf far from the
coastal boundary of the State of Louisiana, For the purposes hereof, the oil and gas fields
to Which the allegations of this complaint relate are limited to the fields within the g
jurisdiction of the State of Louisiana, extending from the Gulf Coast of Louisiana,
encompassing the areas immediately adjacent thereto ("the InshoreFields"), to the limit of

its jurisdiction, three miles offshore ("the Offshore Fields"). The Inshore and foshore

 

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Fields, taken together, are mature fields, meaning that the fields have been extensively
developed, and minerals have been extracted from them for many years and even decades.

7. The minerals and natural gas within the Inshore and Offshore Fields are
exploited by a numberof oil and gas production, exploration, and drilling companies, one of
which is Palace. Each of the Inshore and Offshore Fields, depending upon its respective
location, is within the jurisdiction of one of the several coastal parishes, such as Terrebonne
Parish. There are approximately 1,546 oil and gas wells and other production facilities
within, inshore, or offshore from Terrebonne Parish, many of which are within the Inshore
or Offshore Fields. Palace has approximately one well within Terrebonne Parish, plus others
located elsewhere within the jurisdiction of Terrebonne Parish that may, upon further
investigation, become the subject of additional lawsuits.

8. The extraction of minerals and gas from the Inshore and Offshore Fields
requires the use of complex and costly equipment A well must be drilled to access the
minerals below the surface, the minerals (oil and gas) must be brought to the Surface
(sometimes requiring the application of artificial pressure), and then the minerals must be
transported via either pipeline (called a "fee line") or by barge to a production facility, from
which the minerals then are transported to onshore refineries or finishing plants.

9. Palace and the other oil and gas production companies, having installed the
necessary equipment, must continuously monitor and do monitor the flow of minerals

through the system hereinbefore described.

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10. The oil and gas production companies, including Palace, are required by law
to pay to the State of Louisiana severance taxes on all minerals and gas extracted and
removed from Louisiana, including from the Inshore and Offshore Fields. The Louisiana
severance taxes are paid based on the volume of minerals and gas that pass through the
valves which measure, meter, and control the flow of minerals The oil and gas production
companies periodically and regularly report the volume of minerals and gas that flow through
the metering devices to the Louisiana Department of Natural Resources for purposes of
assessing the amount of severance tax due and owing by each taxpayer to the State of s
Louisiana for a particular time period. y

11. Until approximately 1998, the regulatory policy of the Louisiana Tax
Commission required that the oil and gas companies report the production of the wells in the
Inshore and Offshore Fields on a well-by-well basis. That is to say, the output for each well
for each reporting period was measured and reported by the operator of that particular well
to the Louisiana Department of Natural Resources.

12. At the urging and insistence of the oil and gas production companies and the
trade association representing the independent production companies, the Louisiana
Independent Oil & Gas Association ("LIOGA"), the Louisiana Tax Commission was
persuaded in 1998 or thereabouts to change its policy regarding the measurement and
reporting of oil and gas production from the Inshore and Offshore Fields for purposes of
determining the amount of severance tax due on the production for each period. Instead of

reporting production well by well, individually, as they had done previously, each operator

 

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of the wells in a particular field (which may and typically do contain many wells) instead
filed a "unitary report, " which consolidated the reporting of the production of all wells within
that field.

13. Under this form of unitary reporting, there was no way to determine whether
the reported production from a particular field Was comprised of the production from all,
some, or only one well within that field. Instead, the operator of the wells in a particular field
reported only the gross production from all wells which were producing in that field. Those
wells that have current production are termed "producing wells." Those wells that have no
current production are said to be "shut in." Wells that have a low output of less than 10
barrels of oil or 100 Mcf(100,000,000 cubic feet) of natural gas per day are termed "stripper
wells."

14. By statute, all nonexempt movable and immovable property in Louisiana is
subject to the payment of ad valorem taxes to the parish in which the property is located by
the owners of that property. These taxes are collected by the Several parishes in Louisiana
as general revenue for application to those public purposes determined by the governing
authorities of the parishes. These taxes represent a substantial source of revenue for the
parishes.

15. The constitutional authority and responsibility for the assessment and collection
of ad valorem taxes is vested in the office of the parish assessor. That officer for the Parish
of Terrebonne is Plaintiff Bonvillain. The collection of taxes is vested in the office of the

Sheriff of the Parish of Terrebonne.

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16. The assessment of ad valorem taxes is premised in the first instance on the fair
market value of the property being assessed. The fair market value of property being
assessed for tax purposes is reduced by a ratable amount or percentage of the fair market
value, the result of which then becomes the assessed value of the property in question. The
rate or percentage applied and used to determine the assessed value of property is established
by an equalized schedule approved by the Louisiana Tax Commission. These various
percentages are applied ratably, depending on the type of property and its location.

17. In general, the valuation of property, hence the basis for the assessed tax owed
on property'located on dry land, can be and often is determined upon visual inspection by
officers designated for the purpose by the assessor.

18. Visual inspection by the assessors of movable property located inshore or
offshore is generally not feasible, since the assessors have neither the manpower nor the
resources to conduct visual inspections of the thousands of wells and other facilities located
in the Inshore and Offshore Fields. Accordingly, the Louisiana Tax Commission has adopted
a system of self-reporting. The assessed value of oil and gas property, including that property
used to produce oil and gas from the Inshore and Offshore Fields, is determined solely on the
basis of reports filed under oath by the affected oil and gas producing companies that own
and operate that equipment The taxpayers report the value of their equipment and other
movable property, hence their exposureto liability for payment of ad valorem tax, on a form

designated by the Tax Commission as a "LATlZ form." (See Exhibit A attached).

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19. Various categories of equipment are reported on particular kinds of LATlZ
forms. For example, certain meters are to be reported on Form LATlZ-Z, whereas a lease
line is to be reported on Form LAT12-4. lt is the duty and obligation of the taxpayer to
report the quantities and types of machinery and equipment used in the production and
transmission of oil and gas on the appropriate and correct LAT12 form, since it is on the
basis of the reporting that the percentage rate of taxation or "millage" is calculated. In
addition to all of the other false and materially misleading reporting of property subject to
taxation hereinafter alleged to have been committed by and on behalf of Palace, Palace and
those acting on its behalf misleadingly and confusingly failed to report or incorrectly reported
property subject to taxation on incorrect LAT12 forms.

20. The LATlZ forms are filed under oath by the affected taxpayers annually with
the Office of the Assessor for the parish in which the taxable property is located. One
LATlZ form, or a group of related LAT12 forms, is filed for each oil and gas field that the `
taxpayer operates within the Inshore and Offshore Fields.

21. _The LAT12 form provides detail whereby the equipment used on each well or
production facility, or to connect each well to a production facility, withina given field is
identified and reported. Each well within that field is (or should be) characterized as

"producing, shut in," or "stripper," as hereinbefore described.
22. The ad valorem tax owed on equipment used to produce and distribute oil and

gas from the Inshore and Offshore Fields is determined as follows. Each item of property

is valued at its fair market value when acquired new at the time that particular item was

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placed in service. The fair market value of all oil and gas producing facilities in Louisiana
is reduced by a uniform percentage of 40%, then reduced by a further 15%, to determine the
assessed value of the property.' The assessed value of the property is multiplied by a millage
rate to determine the amount of the tax owed for that item of property. Furthermore, for each
year that the item of movable property remains in service, its assessed value is reduced by
a uniform percentage amount to account for depreciation

23. Equipment and machinery used to produce oil and gas in the Inshore and
Offshore Fields typically have a useful life of many years. The acquisition and installation
costs of that equipment are very high, providing an incentive for the operator to maintain and
repair it, rather than to replace it. Unless a floor were established for the assessed value of
the depreciated property for the years it remains in service, eventually the fully depreciated
value of the taxable property would be zero, hence its assessed value would be zero, and no
tax would be assessed and paid for that particular item for that tax year and for all succeeding
tax years, even though the item remains in service contributing to the production of the well _
or production facility with which it is associated.

24. Until 2005, as hereinafter alleged, the floor below which the value of the
property in question could not be depreciated was 30% of its original assessed value. In
other words, When a particular item of property was depreciated fully to 30% of its assessed
value, the value of that item could not be depreciated further. `

25. The foregoing scheme for determining the assessed value of property used in

the Inshore and Offshore Fields applies only to wells that are characterized as "producing."

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If a well is characterized as a "stripper" well, then the property associated with that well is
taxed based on a uniform rate of 60% of its assessed value. lf the well is characterized as
"shut in," then the property associated with that well is taxed based on a uniform rate of 10%
of its assessed value. Some wells that have been shut in for a lengthy period of time are
characterized as having "no further utility" ("NFU"), and those wells are not taxed at all.

26. During late 2004 and early 2005, the oil and gas production companies in
Louisiana, through or in concert with LIOGA, urged the Louisiana Tax Commission to
reduce the floor for depreciation from 30% to 20%. This proposal was vigorously opposed
by PlaintiffBonvillain, since the self-evident result of reducing the depreciation floor would
be to lower the assessed value of a substantial percentage of the oilfield equipment (in many
cases now fully depreciated) that otherwise would have been taxed based on the higher
depreciation floor of 30%.

27. ' In an effort to persuade the Tax Commission of the merits of its position,
LIOGA commissioned a report by Affiliated Tax Consultants ("the ATC Report"). One of
the authors of the ATC Report, in a cover letter transmitting a copy of the report to Plaintiff
Bonvillain, stated that "[t]here was no information provided directly by any operator The `
data was taken from one source, the [Louisiana] Department of Natural Resources web site."r

28. In reliance on the results of the ATC Report, which was filed with and accepted
by the Tax Commission, the Tax Commission by regulation reduced the depreciation floor
from 30% to 20%, as urged by LIOGA and the oil production 'companies,' despite the

opposition of Plaintiff Bonvillain and the other assessors in the affected parishes. As

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hereinafter alleged, the ATC Report was false and fraudulent in a number of material
respects.

29. lt eventually became apparent to Bonvillain that Palace and certain of the other
oil production companies operating inshore and offshore in ~Terrebonne Parish were
fraudulently and falsely underreporting their ad valorem tax liability. Palace and certain
other of the operators in the parish did so in three material ways, each of which Will be
described hereinafter

30. In an effort to determine the true and accurate ad valorem tax liability owed by
Palace and the other oil production companies operating in Terrebonne Parish, Bonvillain
commissioned a comprehensive study of the operations of those companies from Visual
Lease Services, Inc., of Holdenville, Oklahoma (the "VLS Study"). The VLS Study involves
physical inspection of all 1,546 wells and all production facilities located within Terrebonne
Parish during 2008 and 2009. The VLS Study has thus far uncovered vast and pervasive
underreporting and false reporting of tax liability by Palace and certain of the other oil
production companies in the following respects.

3 l. The operator reported no nonexempt property as being in service during 200 8,
although Bonvillain is reliably informed and therefore alleges that Palace had nonexempt
property in service in Terrebonne Parish during that year and preceding years.

32. Some property owned by Palace and that was in service at the Inshore and
Offshore Fields in the tax year 2008 was not reported at all. The VLS Study identified

property having a fully depreciated value on areplacement-cost-new-less-depreciation basis

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(as determined by the valuation established by the Louisiana Rules and Regulations, Less
Depreciation ("LaRRLD") method of $4,009,537.81 that had not been reported by the
operator at all for the tax year 2008.

33. Plaintiff is reliably informed and on the basis of that information alleges that
Palace had other and additional property in service at other fields during the tax years 1998-
2008 that was also not reported. When and as investigation develops the nature, amount, and
assessed value of that other property not reported, this complaint will be amended to allege
those amounts.

34. By way of illustration of the nature of property that was not reported by Palace
are photographic images taken in 2008-2009 of property omitted from reporting by Palace,
which images are attached hereto and marked Collective Exhibit B, and by this reference
made a part hereof.

35. The cumulative effect of the false, fraudulent, and materially misleading
underreporting, nonreporting, and misreporting of taxable property by Palace to the Assessor
of Terrebonne Parish is for Palace and certain other of the other oil and gas production
companies operating in Terrebonne Parish to have underpaidthead valorem tax due by many `
millions of dollars. Plaintiff is reliably informed, and on the basis of that information alleges,
that the foregoing false, fraudulent§ and materially misleading practice of self-reporting the g
value of property for purposes of assessing ad valorem tax liability by Palace has been `
ongoing and continuous for at least the ten years next preceding the date hereof and in many l

instances for much longer.

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36. At no time prior to the date hereof has Defendant filed a revised, amended, or

corrected LAT12 for any of the tax years material hereto.

COUNT I: RECOVERY OF DELINQUENT TAXES
(Versus Palace)

37. The allegations of 1111 1-36 are realleged as if repeated verbatim.`

38. At all times material to the allegations of this complaint Plaintiff Bonvillain
was, and still is, the duly qualified,` elected, and acting Assessor of Terrebonne Parish,
Louisiana, having the authority under LSA-R.S. §§ 47:5 and 47: 1903 to assess for collection
lawful taxes for Terrebonne Parish, Louisiana,

39. At all times material to the allegations of this complaint Palace owned movable
property for the production of oil and gas located within the taxing jurisdiction of Terrebonne
Parish.

40. Plaintiff Bonvillain or his predecessor in office caused to be placed on the
assessment rolls of Terrebonne Parish movable property and assessed the property for
purposes of taxation pursuant to the LATlZ self-reporting forms submitted under oath by
Palace for the tax years 1998 through 2008, inclusive. Attached hereto, marked Collective g
Exhibit A, and by this referencemade a part hereof, is a LAT12 Form or Forms for the year
2008, which are illustrative of each and all other LAT12 Forms submitted by or on behalf of
Palace for the years at issue.

41. The LAT12 self-reporting tax forms, as hereinbefore alleged, require the

taxpayer to report under oath hilly, completely, and accurately all movable oil and gas

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production property that is subject to tax and that is owned by the taxpayer and the true and
accurate assessed value thereof.

42. Subsequently, and based on the foregoing self-reporting assessments by Palace,
Plaintiff Bonvillain levied taxes against Defendant's property for the years 1998 through
2008, inclusive. In accordance with his customary practice, from and after about March 1
of each succeeding year, the Sheriff of Terrebonne Parish sent a written tax bill for the taxes
to Palace. Each bill included a demand that Palace pay the taxes specified therein on or
before a stipulated date of the current tax year and of each succeeding year through 2008
inclusive. j

43. Not until after an investigation was recently initiated was it determined by j
Plaintiff that Palace has been falsely and fraudulently underreporting, misreporting, or failing
to report the ownership of movable property and/or the assessed value of property within
Terrebonne Parish subject to the assessment and payment of ad valorem taxes having a value l
far in excess of the assessed value reported to rl`errebonne Parish for at least the years 1998
through 2008, inclusive, and beginning perhaps earlier. While investigation to determine the
amount of tax owed by Defendant Palace remains ongoing, Plaintiff has thus far determined
that Defendant Palace has evaded payment of ad valorem taxes in an amount of not less than
$652,642, exclusive of interest, penalties, and costs of collection.

44. Palace operates in several fields within Terrebonne Parish. Plaintiff is reliably
informed, and on the basis of that information alleges, that the foregoing pattern and practice

of fraudulent underreporting, nonreporting, and misreporting the nature and extent of its

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property subject to ad valorem taxation by Palace is systematic within all fields in Terrebonne
Parish in which Palace operates. When and as further investigation develops with respect
to other fields, this complaint will be amended to allege the further and additional liability
to which Palace is exposed for ad valorem taxation of movable property within those fields.

45. In addition to any and all other remedies available to Plaintiff, Defendant shall
be liable for payment of penalties as provided for in LSA-R.S. § 47:2330 for having willh,illy
underreported its tax liability as hereinbefore alleged. `

46. Palace's failure to pay the taxes of at least $652,642, or such other amount as
may be determined upon further investigation, caused Defendant to become indebted to
Terrebonne Parish for a penalty fee, plus interest until the tax is paid.

WHEREFORE, Plaintiff demands that judgment be entered in his favor and against
Palace on Count I and that Plaintiff be awarded the following:

a. The amount of tax due in the amount of not less than $652,642, or such other
amount as investigation may determine, with interest on that amount as
allowed by LSA-C.C.P. art. 1921, from and after 1998 to the date of judgment
in this action; `

b. A penalty fee in an amount to be determined upon a trial of this cause;r

c. Costs of this action; and

d. Such other and further relief as the Court deems just and proper.

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COUNT II: CIVIL RICO
(Versus Zinke)

47 . The allegations of 1111 1-46 are realleged as if repeated verbatim.

48. Palace is an "enterprise" within the meaning of § 1961(4) of the Racketeering
Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §§ 1961-1968. Palace is a
corporate entity that at all relevant times possessed and continues to possess an ongoing
organizational structure. Palace functioned continuously as an oil and gas company during
the relevant time period, and continues to so function.

49. At all relevant times and currently, Palace was and is engaged in, and its
activities have affected and continues to affect, interstate and foreign commerce. For
example, Palace produces oil and gas from fields in Louisiana that is thereafter transmitted
and Sold as refined products, such as gasoline and diesel fuel, throughout the United States.r

50. Zinke is at all times relevant to this action and still is a RICO "person" within
the meaning of 18 U.S.C. § 1961(3).

51. Zinke was and is employed by Palace as the person responsible for the
preparation and submission of tax documents on behalf of Palace; he/she conducted and
participated in, and continues to conduct and participate in, the conduct of Palace's affairs
through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(0).

52. In particular, Zinke engaged in the above-described scheme to defraud the
Parish of Terrebonne of tax revenues that it was lawfully entitled to collect.

53. Zinke engaged in conduct in violation of 18 U.S.C. § 1341 by causing to be

mailed various documents for the purpose of carrying out this scheme to defraud. Relevant

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acts of mail fraud include the mailing during 2008 to the Plaintiff, in his capacity as Assessor
for the Parish of Terrebonne, of false and fraudulent LAT12 forms, copies of which have
been attached hereto as Collective Exhibit A. j

54. The acts of mail fraud perpetrated by Zinke constitute a "pattern of racketeering
activity" within the meaning of 18 U.S.C. § 1961(5) in that there were two or more acts of
racketeering activity, all of Which occurred after the effective date of RICO, and the last of
which occurred within ten years after the commission of a prior act of racketeering activity.

55. The acts of racketeering activity alleged above have sufficient continuity to '
constitute a pattern of racketeering activity in that they have been practiced by Zinke over
a period of at least ten years as part of the scheme to defraud Terrebonne Parish of tax
revenues. Moreover, Zinke, directly or through the instrumentality of Palace, continues to
engage in acts of racketeering activity as part of his/her ongoing scheme to perpetuate a fraud
on Terrebonne Parish. Indeed, but for the recent VLS Study and the commencement of this
action, there is no reason to believe that the scheme would not have continued indefinitely.
As such, Zinke's conduct projects into the future with a threat of repetition.

56. The acts of racketeering activity alleged above are also related in that they have
the same purpose, results, participants, victim, and methods of commission, and are not
isolated events. The wrongful acts are all part of a series of connected criminal racketeering
activities perpetrated by Zinke as part of his/her ongoing scheme to defraud Terrebonne

Parish.

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57. The acts of racketeering activity have occurred in the Eastern District of ~
Louisiana and elsewhere

5 8. Zinke's violations of 1 8 U.S.C. § 1962(c) have proximately caused Terrebonne
Parish great injury and harm in that it has been defrauded of not less than $652,642 in tax
revenues as a result of the pattern of racketeering activity.

59. As such, Terrebonne Parish was and is being injured in its business and
property by reason of Zinke's violations of 18 U.S.C. § 1962(c) and is entitled to recover
threefold the damages it has sustained and the cost of this suit, including a reasonable
attorney's fee.

60. As part of his/her scheme to avoid the payment of taxes to Terrebonne Parish,
Zinke concealed his/her activities from the Plaintiff. In light of the adoption of the self-
reporting system based on the difficulty of visually inspecting the offshore and inshore
property that is the subject of the taxpayer's self-reporting, Plaintiff did not know of, and had
no way of knowing of, the injury suffered by Terrebonne Parish as a result of Zinke's
fraudulent conduct until the recent conclusion of the VLS Study.

WHEREFORE, Plaintiff demands that judgment be entered in his favor and against
Zinke on Count II and that Plaintiff be awarded the following: y

a. Threefold the amount of damages suffered as a result of Zinke's RICO

violations, the specific amount of such damages to be proven at trial;

b. Costs of this action, including a reasonable attorney's fee; and

c. Such other and hirther relief as the Court deems just and proper.

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COUNT III: FRAUD
(Versus Palace and Zinke)

61. The allegations of 1111 1-60 are realleged as if repeated verbatim.

62. From and after about 1998 and continuing until the present§ Palace was doing
business and owned taxable property in Terrebonne Parish, rendering it liable for the
payment of ad valorem taxes to Terrebonne Parish, as alleged hereinbefore, pursuant to
Subtitle Ill of Title 47 of the Revised Statutes of Louisiana.

63. `Palace is required by law to file or cause to be filed under oath with Plaintiff
true, complete, accurate, and correct tax reporting information pursuant to the LAT12 forms,
as hereinbefore alleged.

64. Zinke, and those acting in concert with him/her, caused Palace to submit under
oath LAT12 forms for each of the relevant reporting periods from and after 1998 until 2008,
inclusive.

65. Plaintiff reasonably relied upon the information submitted under oath by Palace
pursuant to each and every one of the LAT12 forms filed for the relevant reporting periods
from and after 1998 until 2008, inclusive, to assess the tax owed by Palace for the tax
reporting periods 1998 through 2008.

66. Instead of Palace's reporting the foregoing tax information truthfully and
accurately, as it is required by law to do, Zinke, and those acting in concert with him/her,
caused Palace instead to file LAT12 forms for the reporting periods from and after 1998 until

2008 that were false and materially misleading in the following respects:

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a. The fair market value on a replacement-cost-new-less-depreciation basis of
much of the property that was reported by Palace as being in service was
underreported by a substantial amount;

b. Substantial amounts, by number and value, of movable property that was
eligible for calculation and payment of ad valorem taxes was not reported at
all;

c. Some wells reported as being shut in were in fact producing minerals, thus
underreporting with respect to those wells the amount and value of movable
property that was eligible for calculation andpayment of ad valorem taxes.

The precise items and amounts, and the value thereof, of unreported, underreported, and
falsely reported property and the particular LAT12 forms on Which that information was
falsely and fraudulently reported are the subjects of further investigation by Plaintiff, the
results of which will be supplied to Defendants during discovery.

67. The foregoing underreporting of the Value of movable property to Terrebonne y
Parish by Palace was done with the intent to deceive the Plaintiff and thus reduce the
exposure of Palace to liability for the lawful payment of ad valorem taxes.

68. As a direct and proximate result of the foregoing false and materially
misleading reporting of its property that was eligible for calculating its liability for the
payment of ad valorem taxes to Terrebonne Parish, Palace underreported its tax liability in s
an amount to be determined upon a trial of this cause, but it is believed by Plaintiff at the

present time, and subject to further investigation, that the amount is in excess of $652,642.

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69. As part of the scheme to avoid the payment of taxes to Terrebonne Parish,
Palace and Zinke concealed their activities from the Plaintiff. In light of the adoption of the
self-reporting system based on the difficulty of visually inspecting the inshore and offshore
property that is the subject of the taxpayer's self-reporting, Plaintiff did not know and had no
way of knowing of the injury suffered by Terrebonne Parish as a result of Defendants'
fraudulent conduct until the recent initiation of the VLS Study.

WHEREFORE, Plaintiff demands that judgment be entered in his favor and against

Palace and Zinke, jointly and severally, on Count 111 and that Plaintiff be awarded the

following:

a. Compensatory damages in the nature of unpaid taxes that should have been
assessed and paid absent Defendants' fraudulent and false underreporting,
nonreporting, and false reporting of Palace's tax liability owed to Plaintiff, the
specific amount of such damages to be proven at trial;

b. Costs of this action, including a reasonable attorney's fee; and

c. Such other and further relief as the Court deems just and proper.

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Plaintiff demands that all issues so triable be tried to a jury.

Respectfully submitted,

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Service is being made pursuant to Rule 4(d) (F ederal Rules of Civil Procedure):

“Waive service of a summons”.

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